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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


ALLIANCE FOR RETIRED
AMERICANS, et al.,

                      Plaintiffs,
                                                      Case No. 1:25-cv-00313-CKK
              v.

SCOTT BESSENT, in his official capacity
as Secretary of the Treasury, et al.,

                      Defendants.


     DEFENDANTS’ NOTICE OF SUPPLEMENTAL DECLARATION UPDATING
                 DECLARATION OF THOMAS H. KRAUSE

       In connection with Defendants’ Memorandum in Opposition to Plaintiffs’ Motion for a

Temporary Restraining Order, ECF No. 24, Defendants filed the Declaration of Thomas H.

Krause, ECF No. 24-1. Defendants submit this notice, attaching a Supplemental Declaration from

Thomas H. Krause, to inform the Court regarding a change in information regarding Mr. Krause’s

employment at Treasury that has occurred since his Wednesday declaration was executed, and to

correct an unrelated error that appeared in his Wednesday declaration.



Dated: February 13, 2025                       Respectfully submitted,

                                               BRETT A. SHUMATE
                                               Acting Assistant Attorney General
                                               Civil Division

                                               MARCIA BERMAN
                                               Assistant Director, Federal Programs Branch

                                               /s/ Bradley P. Humphreys
                                               BRADLEY P. HUMPHREYS
                                               (D.C. Bar No. 988057)
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